Case 9:23-cr-80101-AMC
            Case 1:23-cr-00257-TSC
                          Document 203-1
                                    Document
                                         Entered
                                             128 onFiled
                                                    FLSD 11/01/23
                                                           Docket 11/02/2023
                                                                  Page 1 of 3 Page 1 of 3




                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA

      UNITED STATES OF AMERICA

          v.                                               Case No. 1:23-cr-00257-TSC

      DONALD J. TRUMP,

                       Defendant.


         PRESIDENT TRUMP’S OPPOSED MOTION TO STAY CASE PENDING
     RESOLUTION OF MOTION TO DISMISS BASED ON PRESIDENTIAL IMMUNITY
           President Donald J. Trump respectfully requests that this Court stay all proceedings in this

   case until the issues raised in his Motion to Dismiss the Indictment Based on Presidential

   Immunity, Doc. 74, are fully resolved.

           The Supreme Court has “repeatedly … stressed the importance of resolving immunity

   questions at the earliest possible stage in litigation.” Hunter v. Bryant, 502 U.S. 224, 227 (1991)

   (citing Harlow v. Fitzgerald, 457 U.S. 800, 818 (1982); Davis v. Scherer, 468 U.S. 183, 195

   (1984); Mitchell v. Forsyth, 472 U.S. 511, 526 (1985); Malley v. Briggs, 475 U.S. 335, 341 (1986);

   Anderson v. Creighton, 483 U.S. 635, 646, n. 6 (1987)); see also Pearson v. Callahan, 555 U.S.

   223, 232 (2009); Bernier v. Allen, 38 F.4th 1145, 1152 (D.C. Cir. 2022); Loumiet v. United States,

   315 F. Supp. 3d 349, 351-52 (D.D.C. 2018). Because official immunity is “an immunity from suit

   rather than a mere defense to liability ... it is effectively lost if a case is erroneously permitted to

   go to trial.” Pearson, 555 U.S. at 231 (quoting Mitchell, 472 U.S. at 526).

           For this reason, substantial claims of immunity should be “resolved prior to discovery.”

   Id. (quoting Anderson, 483 U.S. at 640, n. 2). “Immunity ordinarily should be decided by the court

   long before trial.” Hunter, 502 U.S. at 228. That is because immunity is “an entitlement not to

   stand trial or face the other burdens of litigation.” Mitchell, 472 U.S. at 526 (emphasis added);


                                                      1
Case 9:23-cr-80101-AMC
            Case 1:23-cr-00257-TSC
                          Document 203-1
                                    Document
                                         Entered
                                             128 onFiled
                                                    FLSD 11/01/23
                                                           Docket 11/02/2023
                                                                  Page 2 of 3 Page 2 of 3




   see also Ashcroft v. Iqbal, 556 U.S. 662, 685 (2009) (“The basic thrust of the qualified-immunity

   doctrine is to free officials from the concerns of litigation, including ‘avoidance of disruptive

   discovery.’”) (citation omitted). Immunity doctrines such as Presidential, judicial, and legislative

   immunity are designed to protect public officials “not only from the consequences of litigation’s

   results but also from the burden of defending themselves.” Helstoski v. Meanor, 442 U.S. 500,

   507–08 (1979) (quoting Dombrowski v. Eastland, 387 U.S. 82, 85 (1967)). An official immunity

   “defense entitles government officials ‘not merely to avoid standing trial, but also to avoid the

   burdens of such pretrial matters as discovery . . . as inquiries of this kind can be particularly

   disruptive of effective government.’” Wuterich v. Murtha, 562 F.3d 375, 382 (D.C. Cir. 2009)

   (square brackets omitted) (quoting Behrens v. Pelletier, 516 U.S. 299, 308 (1996) (alterations in

   original) (internal quotation marks and citations omitted)). “This principle has even stronger force

   in the present case,” since Presidential immunity “confers absolute, not merely qualified,

   immunity….” Id.

          Here, President Trump has moved to dismiss based on his absolute immunity from criminal

   prosecution for acts within the outer perimeter of his Presidential responsibilities. Doc. 74 (the

   “Immunity Motion”). The prosecution has submitted its response, Doc. 109, and President Trump

   has replied, Doc. 122. The Court has not set oral argument. The Immunity Motion is therefore

   fully briefed and ripe for determination; however, the Court has not indicated when it intends to

   issue an order.

          As President Trump should not be required to endure “the burden of defending [himself],”

   Helstoski, 442 U.S. at 507–08, or the “other burdens of litigation,” Mitchell, 472 U.S. at 526,

   “[u]ntil this threshold immunity question is resolved,” Harlow, 457 U.S. at 818, the Court should

   stay this matter, including all applicable deadlines, pending resolution of the Immunity Motion.




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Case 9:23-cr-80101-AMC
            Case 1:23-cr-00257-TSC
                          Document 203-1
                                    Document
                                         Entered
                                             128 onFiled
                                                    FLSD 11/01/23
                                                           Docket 11/02/2023
                                                                  Page 3 of 3 Page 3 of 3




                                          CONCLUSION

          President Trump respectfully requests that the Court stay all proceedings in this case

   pending resolution of his Immunity Motion.



                                CERTIFICATE OF CONFERRAL

          Counsel for President Trump conferred with counsel for the prosecution, who advise the

   government opposes the relief requested herein.



    Dated: November 1, 2023                              Respectfully submitted,


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